                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER


UNITED STATES OF AMERICA                       )         MATTICE/CARTER
                                               )
       v.                                      )         CASE NO. 4:15-CR-4
                                               )
LEONEL GARCIA                                  )


                              REPORT AND RECOMMENDATION

       Pursuant to 28 U.S.C. ' 636(b), I conducted a plea hearing in this case on July 14, 2015. At

the hearing, defendant entered a plea of guilty to Counts One and Two of the Indictment. There is

no plea agreement in this case. On the basis of the record made at the hearing, I find that the

defendant is fully capable and competent to enter an informed plea; that the plea is made

knowingly and with full understanding of each of the rights waived by defendant; that it is made

voluntarily and free from any force, threats, or promises, that the defendant understands the nature

of the charge and penalties provided by law; and that the plea has a sufficient basis in fact.

       I therefore recommend that defendant's plea of guilty to Counts One and Two of the

Indictment be accepted, that the Court adjudicate defendant guilty of the charges set forth in

Counts One and Two of the Indictment. I further recommend that defendant remain in custody

until sentencing in this matter. Acceptance of the plea, adjudication of guilt, and imposition of

sentence are specifically reserved for the district judge.

       The defendant=s sentencing date is scheduled for Monday, November 30, 2015, at 2:00

pm.


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                                               UNITED STATES MAGISTRATE JUDGE




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                                      NOTICE TO PARTIES

        You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than fourteen (14) days after the plea hearing.
Failure to file objections within fourteen days constitutes a waiver of any further right to challenge
the plea of guilty in this matter. See 28 U.S.C. '636(b).




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